Pleas — general issue and the statute of limitations. The plaintiff excepted to the charge of the judge upon the plea of the statute of limitations. The jury returned the following verdict: "That the defendant's testator did not assume." Upon this verdict judgment was rendered for the defendant, from which the plaintiff appealed.
The Court is precluded from considering the judge's charge by the verdict on the general issue. It is found by the jury that the defendant's testator did not assume, which puts the other issue, on the statute of limitations, and the instructions of the Superior Court on it, out of the question. As the existence of the debt is negatived, the judgment must of course be affirmed. To this, Morisey v. Bunting, 12 N.C. 3, besides other cases, is a direct authority.
PER CURIAM.                                 Judgment affirmed.
Cited: Mastin v. Waugh, 19 N.C. 518; Cole v. Cole, 23 N.C. 462; Doubv. Hauser, 29 N.C. 169; Hall v. Woodside, 30 N.C. 120; Munroe v.Stutts, 31 N.C. 52. *Page 222 
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